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                                                                  PageID:   99
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                                May 31, 2019

   VIA ECF
   Hon. Cathy L. Waldor, U.S.M.J.
   United States District Court
   Martin Luther King Building
   50 Walnut Street
   Room 4040, Courtroom 4C
   Newark, New Jersey 07101

   RE:       Fehl v. Borough of Wallington, et al.
   Case No.: 2:17-cv-11462

     Request for Leave to File a Discovery Motion Pursuant to
                           Local Rule 37

   Judge Waldor:

        Plaintiff Joseph Fehl (“Plaintiff”) submits this
   letter respectfully requesting leave to file a discovery
   motion to compel discovery responses, compel more specific
   discovery responses, compel Defendant Baginski’s deposition
   testimony, and extend fact discovery.

                      Nature of Discovery Disputes

        On July 12, 2018, Plaintiff sent Defendant Borough of
   Wallington (“Defendant Wallington”) a correspondence
   enclosing Plaintiff’s First Set of Interrogatories directed
   at Defendant Wallington, a First Set of Interrogatories
   directed at Defendant Kudlacik, a First Set of
   Interrogatories directed at Defendant Baginski, and a First
   Notice to Produce at all Defendants. On October 5, 2018,
   Plaintiff sent Defendants a correspondence enclosing
   notices to take oral depositions of Defendant Kudlacik and
   Defendant Baginski.

        On January 7, 2019, Plaintiff sent a good faith
   discovery correspondence to Defendants specifically
   requesting responses to the First Set of Interrogatories
   directed to Defendant Wallington, as well as responses to
   the First Notice to Produce documents directed at all
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   Defendants that were then still outstanding.1 At the time
   the correspondence was sent, Defendant Baginski had
   obtained new counsel separate from Defendant Wallington in
   connection with this litigation. The correspondence made a
   specific request “that Defendant Baginski respond to the
   Notice to Produce Documents in addition to the
   interrogatory responses.”

        On or about February 15, 2019, Defendant Wallington
   sent to Plaintiff responses to the First Set of
   Interrogatories along with Defendant Wallington’s and
   Defendant Kudlacik’s responses to Plaintiff’s First Notice
   to Produce. On or about February 27, 2019, Defendant
   Baginski sent a correspondence claiming to join co-
   Defendants Wallington and Defendant Kudlacik’s responses to
   Plaintiff’s First Notice to produce.

        Plaintiff contends Defendant Baginski must provide
   written responses to the First Notice to Produce, and
   cannot join in the responses of a separately represented
   co-Defendant. On March 12, 2019, Plaintiff send Defendants
   a correspondence that, inter alia, requested more specific
   responses to Plaintiff’s discovery. This correspondence
   explained that Defendant Wallington had failed to produce
   documents responsive to requests #3, #5, #6, and #23, where
   the following responses were provided:

       “3. Produce the complete personnel file of Sean Kudlacik
       including, but not limited to, his employment
       application, any records pertaining to his duties and
       responsibilities, promotions, schedules, and performance
       evaluations.

       These defendants object to the production of the
       individual Defendants’ personnel files as the same
       contain confidential information and personal identifiers
       unrelated to this litigation. NJAC 13:1E-3.2(a).

       5. Any and all meeting minutes of the Weehawken Fire
       Squad from January 2013 through December 2015.

       To be provided.

       6. Produce any insurance agreements or policies under
       which any person or firm carrying on an insurance
       business may be liable to satisfy all or part of a

   1 Defendant Kudlacik’s Interrogatory responses were received on or about
   October 23, 2018, and Defendant Baginski’s Interrogatory Responses were
   received on or about December 27, 2018.

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      judgment that may be entered in this action or to
      indemnify or reimburse for payment made to satisfy the
      judgment.

      To be provided.

      23.      Produce any and all insurance policies secured by
      you for personal liability.

      To be provided.”

        In discovery to co-Defendant Baginski, Plaintiff
   further requested his personnel file. Defendant Baginski
   has received public hearings about his employment and lost
   his role as Borough Administrator in Wallington since
   Plaintiff first commenced this case. Plaintiff contends
   the personnel files are not subject to state law privilege.
   In addition, Plaintiff contends the personnel file of
   Defendant Kudlacik, as well as any internal affairs
   investigations involving Defendant Kudlacik or Defendant
   Wallington would be highly relevant to Plaintiff’s civil
   rights claims.

        On April 4, 2019, Plaintiff sent another good faith
   follow up letter related to the outstanding paper discovery
   to Defendants. This correspondence also included a Second
   Notice to Produce documents directed at all Defendants. In
   this correspondence, Plaintiff specified:

         “[E]nclosed you will find Plaintiff’s Second Notice to
         Produce. Since Defendant Baginski did not have his
         own counsel at the inception of this case, I have
         supplied separate copies of the same requests for
         Defendant Baginski and the Borough of Wallington.”

        On April 15, 2019, Plaintiff’s counsel followed-up
   with Defendants via electronic mail seeking to obtain
   mutually agreeable deposition dates for Defendant Kudlacik
   and Defendant Baginski, which depositions were then still
   outstanding.

        On April 17, 2019, Plaintiff served a second
   deposition. Counsel for Defendant Baginski responded on
   May 3, 2019 that he was having difficulty obtaining a
   deposition date for Defendant Baginski, and that he was
   working with Defendant Baginski’s personal attorney to




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   obtain dates.2 No date for Defendant Baginski’s deposition
   has been supplied.

       Defendant Kudlacik’s Deposition Testimony and Objection to
                       Use of Grand Jury Testimony

        Defendant Kudlacik’s deposition was completed on May
   9, 2019. During Defendant Kudlacik’s deposition, his
   counsel objected to Plaintiff use of his grand jury
   testimony as an exhibit. Plaintiff’s counsel agreed to
   forgo using the exhibit until a court ruled on whether it
   was privileged, which was memorialized on the record during
   the following colloquy between counsel:

          Plaintiff’s counsel: We were about to mark the grand
          jury minutes and then a colloquy ensued about whether
          they are even allowed to be used in the context of a
          civil rights case. Plaintiff’s counsel believes that
          they can be used because that’s a malicious
          prosecution claim and it’s highly relevant and there’s
          no other way to get to it.

          Defense counsel though has an objection and we’ve
          agreed not to put it into the record at this point.

          . . .

          Defendant Wallington/Kudlacik’s counsel: Defense’s
          position is that the grand jury testimony is
          confidential and pursuant to Rule 3:6-6 it’s limited
          of when transcripts of grand jury proceedings can [be]
          used after an indictment and there’s some language in
          there about protective orders and confidentiality.

          And at this time I’d just like to reserve to have my
          client not answer these questions just to avoid any
          potential violation of any confidentiality until we
          can have it disposed of by a judge.

          . . .

          Plaintiff’s counsel: And if I could, just for the
          record, there’s other privileged documents under state
          law that plaintiff has sent letters trying to obtain
          and we will put that in with the que(ue) of issues
          now.

   2 Defendant Baginski is a Plaintiff is a separately pending action in
   the District of New Jersey captioned Baginski v. Borough of Wallington
   (No.: 2:17-cv-5320).

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        Plaintiff’s contends there is an evidentiary right in
   federal court that should not be subverted by any claimed
   state law privilege to utilize the grand jury testimony in
   support of his civil rights claims. Additionally, New
   Jersey Court Rule 3:6-6 does not apply to this context.
   For these reasons, Plaintiff requests leave to file a
   motion to take a continuing deposition of Defendant
   Kudlacik related to his grand jury testimony, personnel
   file, and internal affairs file (if any) because state law
   privileges do not subvert federal law in this case.

        Plaintiff has exhausted good faith efforts short of
   seeking court intervention to no avail.3 On May 24, 2019,
   the undersigned reached out to defense counsel to
   communicate concern that discovery had stalled, and court
   intervention was required to adjudicate the disputes
   between the parties. On May 27, 2019, Plaintiff circulated
   an initial draft of this letter as part of an attempt to
   prepare a joint letter to the Court as per Your Honor’s
   judicial preferences.

        On May 28, 2019, after the deposition of Dorothy Siek,
   counsel discussed the draft letter and outstanding
   discovery issues. At this time, the undersigned recognized
   defense counsel had not had the opportunity to review the
   letter as it was drafted on the Memorial Day holiday.
   However, no specific date for the deposition of Defendant
   Baginski could be provided. More importantly, the nature
   of the other discovery disputes appeared unsolvable without
   court intervention since it does not appear that Defendants
   will not produce certain discovery without a court order.
   On May 28, 2019, I specified that I would file a letter to
   preserve my client’s rights if I did not hear back by
   Friday, May 31, 2019.

        At this time, Plaintiff respectfully requests leave to
   file a discovery motion seeking the following relief: (1)
   compelling Defendants to respond to paper discovery; (2)
   compelling Defendants to provide more specific responses to
   Plaintiff’s discovery demands; (3) compelling Defendant
   Baginski to appear for deposition; (4) declaring grand jury
   testimony is not subject to state law privilege; and (5)
   extending the time for completion of fact discovery in the
   pretrial scheduling order by ninety days.


   3 Plaintiff has not included all of the correspondences concerning
   discovery requests/disputes as exhibits, but they can be supplied to
   the Court if needed.

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        The current fact discovery end date is June 17, 2019.
   Counsel for Defendants Wallington/Kudlacik has consented to
   this request. Plaintiff appreciates the Court’s attention
   to this matter and is willing to conference this matter at
   the Court’s convenience.

                                Respectfully Submitted,

                                s/ Jason A. Rindosh__
                                Jason A. Rindosh, Esq.


   cc: all counsel (via ECF)




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